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10                             IN THE UNITED STATES DISTRICT COURT

11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                       SACRAMENTO DIVISION

13

14
       RALPH COLEMAN, et al.,                                 2:90-cv-00520 KJM-DB (PC)
15
                                            Plaintiffs,       DEFENDANTS’ NOTICE OF APPEAL
16                                                            TO THE UNITED STATES COURT OF
                     v.                                       APPEALS FOR THE NINTH CIRCUIT
17

18     GAVIN NEWSOM, et al.,

19                                        Defendants.

20

21          Defendants—Gavin Newsom, Governor of the State of California; Jeff Macomber,

22     Secretary of the California Department of Corrections and Rehabilitation; Joe Stephenshaw,

23     Director of the Department of Finance; Stephanie Clendenin, Director of the Department of State

24     Hospitals; Amar Mehta, Deputy Director for Statewide Mental Health Program; and Diana

25     Toche, Undersecretary for Health Care Services for the California Department of Corrections and

26     Rehabilitation—appeal to the United States Court of Appeals for the Ninth Circuit from this

27     Court’s April 2, 3025 order. (ECF No. 8589.) Defendants also appeal from all earlier, non-final

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                                                          1
                                                     Defendants’ Notice of Appeal (2:90-cv-00520 KJM-DB (PC))

                                                                                                   18950011.1
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 1     orders that produced the April 2, 2025 order and are merged with it. See Am. Ironworks &

 2     Erectors Inc. v. N. Am. Const. Corp., 248 F.3d 892, 897 (9th Cir. 2001).

 3      Dated: May 1, 2025                                 Respectfully submitted,
 4                                                         ROB BONTA
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 5                                                         DAMON MCCLAIN
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 7                                                         /s/ Elise Owens Thorn
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10     Dated: May 1, 2025                                   HANSON BRIDGETT LLP

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13                                                          Attorneys for Defendants

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                                                       2
                                                    Defendants’ Notice of Appeal (2:90-cv-00520 KJM-DB (PC))

                                                                                                  18950011.1
Case 2:90-cv-00520-KJM-SCR    Document 8623    Filed 05/01/25   Page 3 of 8

                             No. _________

            IN THE UNITED STATES COURT OF APPEALS

                     FOR THE NINTH CIRCUIT



RALPH COLEMAN, et al.,
                       Plaintiffs-Appellees,

       v.

GAVIN NEWSOM, et al.,
                    Defendants-Appellants.


            On Appeal from the United States District Court
                 for the Eastern District of California

                  No. 2:90-cv-00520 KJM-DB (PC)
              The Honorable Kimberly J. Mueller, Judge

                REPRESENTATION STATEMENT

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Case 2:90-cv-00520-KJM-SCR       Document 8623      Filed 05/01/25   Page 4 of 8




     The undersigned represent the State Defendants-Appellants in this
case—including Gavin Newsom, Governor of the State of California; Jeff
Macomber, Secretary of the California Department of Corrections and
Rehabilitation; Joe Stephenshaw, Director of the Department of Finance;
Stephanie Clendenin, Director of the Department of State Hospitals; Amar
Mehta, Deputy Director for Statewide Mental Health Program; and Diana
Toche, Undersecretary for Health Care Services for the California
Department of Corrections and Rehabilitation. Attached is a service list that
shows the other parties that are directly interested in this appeal, along with
their lead counsels’ names, firms, addresses, telephone numbers, and email
addresses. The party listing in the district court’s docket includes numerous
associated counsel for many parties, as well as additional intervenors,
“interested parties,” amici curiae, and “miscellaneous” individuals who are
not included on the attached service list.




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Date: May 1, 2025            Respectfully submitted,

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Case 2:90-cv-00520-KJM-SCR   Document 8623    Filed 05/01/25   Page 7 of 8


                        No. ______________

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


RALPH COLEMAN, et al.,
                      Plaintiffs-Appellees,
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GAVIN NEWSOM, et al.,
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  Case 2:90-cv-00520-KJM-SCR       Document 8623      Filed 05/01/25   Page 8 of 8



                     STATEMENT OF RELATED CASES
     The following pending appeals arise from the same district-court matter:
Coleman, et al. v. Newsom, et al., Ninth Cir. No.24-2263; Coleman, et al. v. Newsom,
et al., Ninth Cir. No. 24-2938; and Coleman, et al. v. Newsom, et al., Ninth Cir. No.
24-3707.


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